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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO.: 16-cv-62241

 LUIS SIERRA,

        Plaintiff,

 vs.

 ALIBI MONKEY BAR PTOWN LLC d/b/a
 GEORGIE’S ALIBI MONKEY BAR PTOWN FTL,

       Defendant.
 __________________________________________/


                                  NOTICE OF SETTLEMENT

        Plaintiff, LUIS SIERRA, (hereinafter referred to as “Plaintiff”) by and through undersigned

 counsel, hereby notifies the Court that the Plaintiff and Defendant, ALIBI MONKEY BAR

 PTOWN LLC d/b/a GEORGIE’S ALIBI MONKEY BAR PTOWN FTL (hereinafter referred to

 as “The Parties”) are in the process of executing the Settlement Agreement and request fifteen (15)

 days to finalize the settlement and file for dismissal of this matter. The Parties request that the

 Court stay all matters and pending deadlines in this Action and grant the Parties fifteen (15) days

 to finalize their written settlement agreement and to submit the appropriate notices and/or motions

 to the Court regarding dismissal of the Action.

                                 CERTIFICATE OF SERVICE

        I certify that on October 24, 2016, I electronically filed the foregoing document with the

 Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served this

 day on counsel of record in this action via email transmission and via transmission of Notices of

 Electronic Filing generated by CM/ECF.
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                                          Respectfully submitted,

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                                          _/s/ Mark D. Cohen____
                                          Mark D. Cohen, Esq.
                                          Florida Bar No. 347345

                                          _/s/ Jaci R. Mattocks____
                                          Jaci R. Mattocks, Esq.
                                          Florida Bar No. 115765
